Joseph A. Osborne,
        Case         Esq. (FL Bar No: 880043) Document 88
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                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
    In Re: Tiktok, Inc., Minor Privacy Litigation                  LEAD CASE NUMBER 2:25-ml-03144-GW-RAO

    This Document Relates to:
    Michael Luong v. BYTEDANCE, Inc. et al.
    Case No. 2:25-cv-03397-GW-RAO
                                                                           NOTICE OF DISMISSAL PURSUANT
                                                                            TO FEDERAL RULES OF CIVIL
                                                                                PROCEDURE 41(a) or (c)


PLEASE TAKE NOTICE: (Check one)

     □X This action is dismissed by the Plaintiff(s) in its entirety.
     □ The Counterclaim brought by Claimant(s)                                                                            is
         dismissed by Claimant(s) in its entirety.

     □ The Cross-Claim brought by Claimants(s)                                                                            is
         dismissed by the Claimant(s) in its entirety.

     □ The Third-party Claim brought by Claimant(s)                                                                       is
         dismissed by the Claimant(s) in its entirety.

     □ ONLY Defendant(s)
         is/are dismissed from (check one) □ Complaint, □ Counterclaim, □ Cross-claim, □ Third-Party Claim
         brought by ________________________________

    The dismissal is made pursuant to F.R.Civ.P. 41(a) or (c).




        07/07/2025                                    /s/Joseph A. Osborne
                 Date                                               Signature ofAttorney/Party




NOTE: F.R.Civ.P. 41(a): This notice may be filed at any time before service by the adverse party of an answer or of a motion for
      summary judgment, whichever first occurs.

         F.R.Civ.P. 41(c): Counterclaims, cross-claims & third-party claims may be dismissed before service of a responsive
         pleading or prior to the beginning of trial.



CV-09 (03/10)           NOTICE OF DISMISSAL PURSUANT TO FEDERAL RULES OF CIVIL PROCEDURE 41(a) or (c)
